                                                                          LG Ornamentals LLC
                                                                               Exhibit C
                                                                                  August 2021

                                         Date                    Name                           Account
Uncategorized Income
                                      08/03/2021   Artisan Landscape Group, LLC    40200 Uncategorized Income
                                      08/09/2021   Artisan Landscape Group, LLC    40200 Uncategorized Income
                                      08/10/2021   The Great House Compnay         40200 Uncategorized Income
Total for Uncategorized Income
Sales of Product Income
                                      08/03/2021   Artisan Landscape Group, LLC    41000 Sales of Product Income
Total for Sales of Product Income
TOTAL




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                  Split                Amount         Balance


10102 Pinnacle Operation Ck *1400           800.00      800.00
10102 Pinnacle Operation Ck *1400           350.00     1,150.00
10102 Pinnacle Operation Ck *1400          2,600.00    3,750.00
                                       $ 3,750.00


12000 Accounts Receivable (A/R)             800.00      800.00
                                       $    800.00
                                       $ 4,550.00




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